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Joseph Maldonado:
Hello?

James Garretson:
Hey, man. Sorry. I got hung up on some things. Not going to make it by today. It'll be tomorrow.

Joseph Maldonado:
It's all right. We're going to run my ass to the fucking parade anyway.

James Garretson:
Oh. Hey, but what I was saying is I was going to see if you're around Friday, because my guy's in town.
You know the guy-

Joseph Maldonado:
Well, I will be until about three o'clock. I got to go to Dallas with a tiger to do a photo shoot.

James Garretson:
Oh, shoot. In Dallas?

Joseph Maldonado:
Yeah.

James Garretson:
What, for the cub or big tiger?

Joseph Maldonado:
It's a cub, for [Hip Hop World 00:00:47].

James Garretson:
Oh, shoot.

Joseph Maldonado:
Yeah.

James Garretson:
Cool. But yeah, I was just seeing if you were going to be around Friday, because he's here, and he's
ready.

Joseph Maldonado:
Yeah. Just call me Friday morning.

James Garretson:
Okay.

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Joseph Maldonado:
A whole lot can go on between now and then. You know how that is.

James Garretson:
Yeah, I hear you. All right. Well, I'll holler at you tomorrow. I'll swing by tomorrow some time.

Joseph Maldonado:
All right.

James Garretson:
All right, bye.




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